 

Case 1:16-cv-00860-MCW sm

 
 

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Hn the United States Court of Federal Claims

No. 16-860C
(Filed: December 9, 2016)

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*
JOSEPH R. FLYING HORSE, FILED
* DEC
Plaintiff, # - 9 2016
*+ U.S. COURT OF
y. * FEDERAL CLAIMS
*
THE UNITED STATES, *
*
Defendant. *
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ORDER OF DISMISSAL

 

WILLIAMS, Judge.

This matter comes before the Court on Defendant’s motion to dismiss. For the reasons
stated below, Defendant’s motion to dismiss is granted.

Background’

Plaintiff pro se Joseph Flying Horse is an inmate at the South Dakota State Penitentiary
in Sioux Falls, South Dakota, and is a member of the Standing Rock Sioux tribe. Compl. 1.
Plaintiff alleges that on May 17, 2016, he was arrested for and subsequently charged with
violation of South Dakota Codified Law 22-42-5, and that a “Detainer (interchangeable with
‘Parole Hold’) was placed on [him] by [a] South Dakota Department of Corrections (‘DOC’)
parole officer” at this time. Id. at 2. On May 18, 2016, Plaintiff declined to enter a plea, but
instead stated that he was challenging the state’s jurisdiction to prosecute him. Id. On June 1,
2016, during Plaintiffs preliminary hearing, the prosecutor dismissed the charge. Id. On June 7,
2016, Plaintiff was notified that he would not be released from detainment because his offense
was serious and the state was going to re-charge him. Id.

On June 9, 2016, Plaintiff was transferred from the county jail to the state penitentiary.
Id. Plaintiff appears to allege that he is being improperly detained in violation of his

 

This background is derived from Plaintiffs complaint.
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Constitutional rights, and seeks damages for lost wages, mental and emotional anguish, loss of
consortium, as well as an order returning him to parole status. Id, at 5, 8-9.

Discussion

Plaintiff has the burden of establishing subject-matter jurisdiction in this Court. See
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). The Court must
dismiss the action if it finds subject-matter jurisdiction to be lacking. Adair v. United States, 497
F.3d 1244, 1251 (Fed. Cir. 2007). The Court assumes all factual allegations as true, and will
construe the complaint in a manner most favorable to the Plaintiff when ruling on a motion to
dismiss pursuant to Rule 12(b)(1). Pennington Seed, Inc. v. Produce Exch, No. 299, 457 F.3d
1334, 1338 (Fed. Cir. 2006).

The filings of pro se litigants are held to “‘less stringent standards than formal pleadings
drafted by lawyers.’” Naskar y. United States, 82 Fed. Cl. 319, 320 (2008) (quoting Haines v.
Kerner, 404 U.S. 519, 520 (1972)). However, pro se plaintiffs still bear the burden of
establishing the Court’s jurisdiction and must do so by a preponderance of the evidence. See
Reynolds, $46 F.2d at 748; Tindle v. United States, 56 Fed. Cl. 337, 341 (2003).

The Tucker Act, 28 U.S.C. § 1491(a)(1) (2012), provides that this Court

shall have jurisdiction to render judgment upon any claim against the United
States founded either upon the Constitution, or any Act of Congress or any
regulation of an executive department, or upon any express or implied contract
with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.

The Tucker Act is not money-mandating, but rather is a jurisdictional statute. United States _y.
Testan, 424 U.S. 392, 398 (1976). To establish jurisdiction, a plaintiff must seek money
damages under a source of substantive law. “[T]he claimant must demonstrate that the source of
substantive law he relies upon ‘can fairly be interpreted as mandating compensation by the
Federal Government for the damages sustained.’” United States v. Mitchell, 463 U.S. 206, 216-
17 (1983) (quoting Testan, 424 U.S. at 400); see Jan’s Helicopter Sery., Inc. v. Fed. Aviation
Admin., 525 F.3d 1299, 1306 (Fed. Cir. 2008) (“[A] plaintiff must identify a separate source of
substantive law that creates the right to money damages.” (internal quotations omitted)).

Plaintiff names the following individuals and entities as Defendants in this matter: parole
officer James Hansen, Pennington County as respondeat superior for the Pennington County
State’s Attorney Office, case manager Krista Best, South Dakota State Penitentiary warden
Darrin Young, Secretary of Corrections Denny Kaemingk, and unit coordinator Seth Hughes.
Compl. 7. The only proper defendant in this Court is the United States. United States v.
Sherwood, 312 U.S. 584, 588 (1941); Berdick v. United States, 612 F.2d 533, 536 (Ct. Cl. 1979).
To the extent that Plaintiff alleges claims against parties other than the United States, this Court
lacks jurisdiction to entertain those claims.

Plaintiff appears to be challenging the length of his detainment at the South Dakota
Penitentiary. However, this Court does not have the authority to review the decisions of state
courts or to hear challenges to the terms of imprisonment. Schweitzer v, United States, 82 Fed.
Cl. 592, 596 (2008) (finding that this Court does not have jurisdiction to consider claims relating

 
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to “indictments, arrests, prosecutions, convictions, imprisonment, or parole”); Landers v. United
States, 39 Fed. Cl. 297, 301 (1997). Therefore, the Court lacks jurisdiction over Plaintiff's
claims.

Plaintiff cites the Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments and the Ex
Post Facto clause of the Constitution as bases for this Court’s jurisdiction over his claims.

. However, these provisions do not grant this Court the authority to adjudicate Plaintiff's claims,

as they are not money-mandating. Trafny v, United States, 503 F.3d 1339, 1340 (Fed. Cir. 2007)
(“The Court of Federal Claims does not have jurisdiction over claims arising under the Eighth
Amendment, as the Eighth Amendment is not a money-mandating provision.” (internal citations
and quotation marks omitted)); LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995)
(finding that the Fifth and Fourteenth Amendments do not form “a sufficient basis for
jurisdiction because they do not mandate payment of money by the government”), LaChance v.
United States, 15 Cl. Ct. 127, 130 (1988) (“[T]Jhe fourth amendment does not mandate payment
of money by the United States.”); Turpin v, United States, 119 Fed. Cl. 704, 707 (2015) (stating
that the Sixth Amendment is not money-mandating and therefore cannot “provide the Court with
jurisdiction over a complainant’s claims”); Tasby v. United States, 91 Fed. Cl. 344, 346 (2010)
(stating that the Ex Post Facto Clause is not money-mandating).

Plaintiff also invokes the 1868 Fort Laramie Treaty, but has not alleged facts indicating
that he is entitled to relief under that treaty or that he has exhausted his administrative remedies
prior to filing suit in this Court. Hernandez v. United States, 93 Fed, Cl. 193, 199 (2010); Elk v.
United States, 70 Fed. Cl. 405, 407 (2006).

Finally, Plaintiff seeks monetary damages for lost wages stemming from his continued
imprisonment, mental and emotional anguish, and loss of consortium, but because these claims
sound in tort, this Court lacks jurisdiction to entertain them. Rick’s Mushroom Serv., Inc. v.
United States, 521 F.3d 1338, 1343 (Fed. Cir. 2008); LeBlanc, 50 F.3d at 1030; Simmons v.
United States, 71 Fed. Cl. 188, 194 (2006) (finding that loss of consortium sounds in tort and
therefore falls outside of this Court’s jurisdiction),

 

Conclusion

Defendant’s motion to dismiss is GRANTED. The Clerk is directed to dismiss this
action.

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MARY ELLEN COSTER WILLIAMS
Judg
